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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-0937V
                                     Filed: August 16, 2019
                                         UNPUBLISHED


    MICHAEL PATTON,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Guillain-
    HUMAN SERVICES,                                          Barre Syndrome (GBS)

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On June 28, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”) as a result of
an influenza (“flu”) vaccine administered on October 27, 2016. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

      On June 24, 2019, a ruling on entitlement was issued, finding petitioner entitled
to compensation for GBS. On August 15, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $140,000.00. Proffer

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 1. In the Proffer, respondent represented that petitioner agrees with the proffered
award. Id. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $140,000.00 in the form of a check payable to
petitioner, Michael Patton. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


MICHAEL PATTON,

                  Petitioner,                          No. 18-937V
                                                       Chief Special Master Dorsey
    v.                                                 ECF

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                  Respondent.


               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On June 13, 2019, respondent concededed that entitlement to compensation was

appropriate under the terms of the Vaccine Act. Thereafter, on June 24, 2019, Chief Special

Master Dorsey issued a Ruling on Entitlement finding that petitioner was entitled to vaccine

compensation for his Guillain-Barre Syndrome (“GBS”). Based on the evidence of record,

respondent proffers that petitioner should be awarded $140,000.00, which is comprised of

damages for pain and suffering. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $140,000.00, in the form of a check payable to petitioner. Petitioner

agrees.


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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                   Respectfully submitted,

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   ALEXIS B. BABCOCK
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   s/ Mallori B. Openchowski
                                                   MALLORI B. OPENCHOWSKI
                                                   Trial Attorney
                                                   Torts Branch, Civil Division
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DATED: August 15, 2019
